                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE
                                         NASHVILLE DIVISION


THE COCA-COLA COMPANY                                )
                                                     )       No. 3-08-0745
v.                                                   )
                                                     )
THE O-COMPANY N.V.1                                  )


                                                   ORDER

                The plaintiff's motion for leave to file documents under seal (Docket Entry No. 125) is

GRANTED.

                The Clerk shall maintain the following filings UNDER SEAL: (1) the plaintiff's motion for

summary judgment (Docket Entry No. 126);2 (2) the plaintiff's Local Rule 56.01(b) statement

(Docket Entry No. 127);3 (3) Exhibits 16-19, 21, and 24-32 (Docket Entry Nos. 133-146) to the

declaration of Robert N. Phillips;4 (4) exhibits 24-26 (Docket Entry Nos. 130-24 through 130-26)

to the declaration of Julie Hamilton;5 and (5) exhibits A and B (Docket Entry Nos. 129-1 and 129-2)

to the declaration of Javier Rodriguez Merino.6

                It is so ORDERED.



                                                     JULIET GRIFFIN
                                                     United States Magistrate Judge

     1
    By stipulation filed September 19, 2008, and order entered September 24, 2008 (Docket Entry
No. 25), defendant OGO USA LLC was dismissed without prejudice.
         2
     The plaintiff filed a redacted motion for summary judgment (Docket Entry No. 147). Only
small portions of the sealed motion were redacted.
     3
   The plaintiff filed a redacted Local Rule 56.01(b) statement (Docket Entry No. 132). Only one
small portion of the sealed statement was redacted.
     4
     The declaration itself and exhibits 1-15, 20, 22-23, and 33-36 (Docket Entry Nos. 128, 128-1
through 128-15, 128-20, and 128-24 through 128-36) shall remain unsealed.
     5
    The declaration itself and exhibits 1-23, and 27 (Docket Entry Nos. 130, 130-1 through 130-23,
and 130-27) shall remain unsealed.
     6
             The declaration itself and exhibit C (Docket Entry Nos. 129 and 129-3) shall remain unsealed.



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